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June 24, 2022

Via ECF

The Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                Re:   United States v. Garcia Luna, 19 Cr. 576 (BMC)

Dear Judge Cogan,

As the Court is aware, I represent Mr. Garcia Luna in the above-referenced matter. We write,
with the consent of the government, to request a two-week extension to respond to the
government’s motions in limine filed on June 15, 2022.

First, in its motions in limine, the government moves to introduce 404(b) evidence that it
believes establishes that Mr. Garcia Luna conspired with a jailhouse informant to tamper with
witnesses and/or obstruct justice, allegations with which he has not been charged. The evidence
that it has produced to the defense in this regard consists of more than 500 hours of recordings
that are largely inaudible or unintelligible and primarily consist of statements made by the
jailhouse informant and not Mr. Garcia Luna. There is no corresponding line sheets or
summaries of the recordings, and the government has only provided us with transcripts of a
handful of conversations. Listening to these audios has proven to be a herculean lift, especially
with all the other tasks necessary to defend the actual charges in the case. The defense intends to
bring to light facts relevant to the credibility of the jailhouse informant and provide the Court
with examples of recordings that the defense believes, along with the informant’s circumstances,
will show the Court how unreliable and untrue these allegations are.

Second, the government is seeking to introduce evidence regarding allegations made by a
journalist in Mexico of her belief that Mr. Garcia Luna, through others, somehow threatened her.
The government does not identify the journalist, but we believe that it is a journalist that has
been targeting Mr. Garcia Luna for decades with baseless allegations shrouded as journalism.
Notably, she now appears to be making similar claims against Mexican President Andrés Manuel
López Obrador. The claims against Mr. Garcia Luna have been the subject of government
hearings and numerous press stories in Mexico over the years. As with the jailhouse informant
recordings, the journalist’s claims have taken a substantial amount of time to review and the
government has provided us with no discovery related to these claims.

As to both of the government’s claims, in our opposition we intend to demonstrate to the Court
the unreliability of this alleged evidence and how allowing the admission of this evidence will
likely result in trials within what will already be a lengthy and complex trial.

Accordingly, we request the Court allow the Defense an additional two weeks, or July 13, 2022,
to respond to the government’s motions in limine.


Respectfully submitted,
       /s/
César de Castro
Valerie Gotlib
Shannon McManus




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